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 6                IN THE UNITED STATES DISTRICT COURT FOR THE

 7                        EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                      Plaintiff,

11                v.                            CR. NO. S-10-0200 LKK

12   ANTHONY G. SYMMES

13                      Defendant.
                                        /
14
     UNITED STATES OF AMERICA,
15
                        Plaintiff,
16
                  v.                            CR. NO. S-08-0376 EJG
17
     GARRET GRIFFITH GILILLAND III,
18   and NICOLE MAGPUSAO,
                                                RELATED CASE ORDER
19                  Defendants.
     _____________________________/
20

21          Examination of the above-entitled actions reveals that they

22   are related within the meaning of Eastern District Local Rule 83-

23   123.    The actions arise out of the same law enforcement

24   investigation and involve the same transactions, property or

25   event.    Accordingly, the assignment of the matters to the same

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 1   judge is likely to effect a substantial saving of judicial effort

 2   and is also likely to be convenient for the parties.

 3          The parties should be aware that relating the cases under

 4   Local Rule 83-123 merely has the result that both actions are

 5   assigned to the same judge; no consolidation of the actions is

 6   effected.    Under the regular practice of this court related cases

 7   are generally assigned to the judge to whom the first filed

 8   action was assigned.

 9          IT IS THEREFORE ORDERED that the action entitled Cr. No. S-

10   10-0200 LKK is hereby reassigned to Judge Edward J. Garcia for

11   all further proceedings.      Henceforth, the caption on documents

12   filed in the reassigned case shall be shown as Cr. No. S-10-0200

13   EJG.

14          IT IS FURTHER ORDERED that an initial appearance/arraignment

15   and hearing for entry of plea in the reassigned case will be held

16   at 10:00 a.m. Friday, May 28, 2010 before Judge Garcia.

17          IT IS FURTHER ORDERED that the Clerk of the Court make

18   appropriate adjustment in the assignment of criminal cases to

19   compensate for this reassignment.

20          IT IS SO ORDERED.

21          May 24,2010                 /s/ Edward J. Garcia
                                        EDWARD J. GARCIA, JUDGE
22                                      UNITED STATES DISTRICT COURT

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